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                                              December 12, 2022


By ECF and Email
Honorable Vernon S. Broderick
United States District Judge
Southern District of New York
40 Centre Street
New York, NY 10007

Re:   United States v. Sayfullo Saipov
      (S1) 17 Cr. 722 (VSB)

Dear Judge Broderick:

       The parties have considered the virtual alternative that the Court proposed
earlier today, specifically, proceeding with voir dire via Microsoft Teams for the next
few days, between now and when Your Honor is allowed to return to the courthouse
pursuant to the SDNY COVID protocols.

       The defense does not object to proceeding in this manner. The Government
takes the following position: While we have not identified any legal precedent
directly precluding the Court from proceeding by Teams, we also have not identified
any authority directly addressing remote voir dire. We also believe the defendant
should be allocuted on this issue were we to proceed with the use of Teams. Given
that, we respectfully request that the Court not proceed by Teams.

      Please let us know how the Court plans to proceed. Even if we do not proceed
with voir dire tomorrow, we ask that the Court assemble the parties via Microsoft
Teams to discuss the potential hardships from the contacted, qualified jurors that
Chambers emailed about this afternoon.

                                              Respectfully submitted,

                                              /s/
                                              David Patton
                                              Counsel for Sayfullo Saipov
